 8:06-cr-00304-LSC-TDT         Doc # 93     Filed: 01/11/07     Page 1 of 2 - Page ID # 200




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                           )
                                                    )            8:06CR304
                      Plaintiff,                    )
                                                    )          REPORT AND
       vs.                                          )
                                                    )      RECOMMENDATION
TARA WILLIAMS,                                      )
                                                    )          ON GUILTY PLEA
                      Defendant.                    )


       On January 11, 2007, defendant Tara Williams (Williams), together with her counsel,
William C. Bracker, appeared before the undersigned magistrate judge and was advised
of the charges, the penalties and the right to appear before a United States District Judge.
After orally consenting to proceed before a magistrate judge, Williams entered a plea of
guilty to Count I of the Superceding Indictment.
       After being sworn, Williams was orally examined by the undersigned magistrate
judge in open court as required by Federal Rule of Criminal Procedure 11. Williams also
was given the advice required by that Rule. Finally, Williams was given a full opportunity
to address the court and ask questions.
       Counsel for the government and counsel for Williams were given the opportunity to
suggest additional questions by the court. Moreover, both counsel orally certified that they
were of the opinion that the plea was knowing, intelligent and voluntary, and that there was
a factual basis for Williams’s plea of guilty to Count I of the Superceding Indictment.
       Therefore, I find and conclude that: (1) the plea is knowing, intelligent, and voluntary;
(2) there is a factual basis for the plea; (3) the provisions of Rule 11 and any other
provisions of the law governing the submission of guilty pleas have been complied with; (4)
a petition to enter a plea of guilty, on a form approved by the court, was completed by
Williams, Williams’s counsel and counsel for the government, and such petition was placed
in the court file (Filing No. 80); (5) the plea agreement is in writing and is filed in the court
file (Filing No. 83); (6) there were no other agreements or stipulations other than as
contained in the written plea agreement except that the government and Williams agreed
 8:06-cr-00304-LSC-TDT         Doc # 93     Filed: 01/11/07    Page 2 of 2 - Page ID # 201




that the words “under Rule 11(C)(1)(c)” in Paragraph 9 of the plea agreement should be
eliminated.


        IT IS RECOMMENDED TO JUDGE LAURIE SMITH CAMP that:
        1.     She accept the guilty plea and find the defendant, Tara Williams, guilty of the
crime set forth in Count I of the Superceding Indictment to which Williams tendered a guilty
plea;
        2.     She accept the written plea agreement with the understanding that the court
is not bound by the parties’ stipulations, but may with the aid of the presentence report,
determine the facts relevant to sentencing.


                                       ADMONITION
        Pursuant to NECrimR 57.3 any objection to this Report and Recommendation shall
be filed with the Clerk of the Court within ten (10) days after being served with a copy of
this Report and Recommendation. Failure to timely object may constitute a waiver of any
such objection. The brief in support of any objection shall be filed at the time of filing such
objection.    Failure to file a brief in support of any objection may be deemed an
abandonment of the objection.
        DATED this 11th day of January, 2007.
                                                   BY THE COURT:
                                                   s/Thomas D. Thalken
                                                   United States Magistrate Judge




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